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                                                                                                   UNITED STATES DISTRICT COURT
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                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                            WESTERN DIVISION
                                                                      10
                                Los Angeles, California 90067-3086




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STROOCK & STROOCK & LAVAN LLP




                                                                           WILLIAM WILBURN,               )                 Case No. 2:17-cv-00954-RSWL-KS
                                                                                                          )
                                                                      12              Plaintiff,          )                 Honorable Ronald S. Lew
                                      2029 Century Park East




                                                                                                          )
                                                                      13       vs.                        )                 ORDER OF DISMISSAL OF
                                                                                                          )                 ACTION IN ITS ENTIRETY WITH
                                                                      14   JPMORGAN CHASE BANK, N.A.; and )                 PREJUDICE
                                                                           DOES 1 through 10, inclusive,  )
                                                                      15
                                                                                      Defendants.         )                 Action Filed: February 6, 2017
                                                                      16                                  )
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                                                                      18           Pursuant to the stipulation of dismissal filed by the parties, this action is
                                                                      19   hereby dismissed in its entirety with prejudice, with the parties to bear their own
                                                                      20   attorneys’ fees and costs. IT IS SO ORDERED.
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                                                                      22   Date: 6/2/2017                             By:     s/ RONALD S.W. LEW
                                                                      23                                                    Hon. Ronald S. Lew
                                                                                                                            Judge of the United States District Court
                                                                      24                                                    Central District of California
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                                                                                                         ORDER OF DISMISSAL OF ACTION IN ITS ENTIRETY WITH PREJUDICE
                                                                                                                                       CASE NO. 2:17-CV-00954-RSWL-KS
                                                                           LA 52086040
